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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. (For Offenses Committed On or After November 1, 1987)
MARVIN GROSECLOSE-CUBILLAS (1)
aka Marvin Groseclose Cubillas Case Number: 3:21-CR-01734-GPC

Lewis Christian Muller

 

Defendanit’s Attorney

 

USM Number 01675-5006

Oo -
THE DEFENDANT: NOV 03 2021

&] pleaded guilty to count(s) One and Two of the Information CLERK, U.S. DISTRICT COURT
: SOUTHERN DISTRICT OF CA

 

 

 

 

 

 

 

L]_ was found guilty on count(s) BY. DEPUTY
after a plea of not guilty.

 

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

Title and Section / Nature of Offense Count

21:952, 960 - Importation Of Methamphetamine (Felony) 1

21:952,960 - Importation Of Npheny!- N-[1-(2-Phenylethyl-4- Piperidinyl] Propanamide (Fentanyl) 2
The defendant is sentenced as provided in pages 2 through . 5 of this judgment.

The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

L] The defendant has been found not guilty on count(s)

 

D<] Count(s) is dismissed on the motion of the United States.

Assessment: Count 1, $100.00, waived; Count 2, $100.00, waived.

(1 JVTA Assessment*: $ °

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

No fine CL) Forfeiture pursuant to order filed , included herein.
IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

- judgment are fully paid. Hf ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances. :

November 1. 2021

Date of Imposition of Sentence

CBwle€O

HON. GONZALO P. CURIEL  ~
UNITED STATES DISTRICT JUDGE
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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
12 months and 1 Day as to count 1; 12 months and 1 Day as to count 2. Terms to run concurrent.

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:
' Designate to a facility in the Western Region.

bh O

The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshal for this district:
-O at AM. on

 

U1 as notified by the United States Marshal.

0 The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:

O on or before
Olas notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant will be on n supervised release for a term of:
Three (3) years, terms to run concurrent.

MANDATORY CONDITIONS

1. The defendant must not commit another federal, state or local crime.

.2. The defendant must not unlawfully possess a controlled substance.

3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court. .

CThe above drug testing condition is suspended, based on the court's determination that the defendant poses a low
risk of future substance abuse. (check if applicable)

4. ()The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
a sentence of restitution. (check if applicable)

5. The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
LThe defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
the Jocation where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
applicable)

7. (The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the atiached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of the defendani’s supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed ' because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant’s conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72

hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer

about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to

unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must

permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
‘time employment, uniess the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
change or expected change. .

_ 8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c.,

anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
_ officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.

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SPECIAL CONDITIONS OF SUPERVISION

1, Submit your person, property, house, residence, vehicle, papers, [computers (as

defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage

devices or media,] or office, to a search conducted by a United States probation

officer. Failure to submit to a search may be grounds for revocation of release. The

offender must warn any other occupants that the premises may be subject to searches

pursuant to this condition. An officer may conduct a search pursuant to this condition

only when reasonable suspicion exists that the offender has violated a.condition of his supervision and that the
areas to be searched contain evidence of this violation.

Any search must be conducted at a reasonable time and in a reasonable manner.

2. Not enter or reside in the Republic of Mexico without permission of the court or
probation officer and comply with both United States and Mexican immigration laws.

3. Report all vehicles owned or operated, or in which you have an interest, to the.
probation officer.

4. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for
a period of up to 120 days (non-punitive).

5. Be monitored for a period of 365 days, with the location monitoring technology at the discretion of the probation
_ officer, The offender shall abide by all technology requirements and shall pay all or part of the costs of
participation in the location monitoring program, as directed by the court and/or the probation officer. In addition
‘to other court-imposed conditions of release, the offender’s movement in the community shall be restricted as
specified below:

(Home Detention)

You are restricted to your residence at all times except for employment; education; religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities as preapproved by the probation officer.

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